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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :       Case No. 1:21-cr-248(1) - RDM
         v.                                    :
                                               :
AARON MILEUR,                                  :
                                               :
                 Defendant                     :

                     GOVERNMENT’S SENTENCING MEMORANDUM

         The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court sentence Defendant Aaron Mileur to 90 days of home detention as part of 36 months of

probation, 60 hours of community service, and $500 in restitution.

    I.        Introduction

         Defendant Aaron Mileur, a 43-year-old rain gutter installation worker and Air Force

veteran, along with his co-defendants Carrie Ann Williams and Tyronne McFadden,1 participated

in the January 6, 2021 attack on the United States Capitol—a violent attack that forced an

interruption of Congress’s certification of the 2020 Electoral College vote count, threatened the

peaceful transfer of power after the 2020 Presidential election, injured more than one hundred

police officers, and resulted in more than 2.8 million dollars’ in losses.

         Mileur pleaded guilty to one count of violating 40 U.S.C. § 5104(e)(2)(G), Parading,

Demonstrating, and Picketing in the U.S. Capitol Building. As explained herein, a sentence of

home detention is appropriate in this case because, although Mileur spent only a brief amount of



1
 Co-defendants Mileur, Williams, and McFadden are all scheduled to be sentenced on the same
date, March 20, 2023, before this Court.


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time inside the Capitol building itself, he was part of the large crowd that was pushing toward the

Rotunda doors to reach the inside of the building, and understood that police were using “flash

bangs and tear gas” in an effort to regain control of the Capitol; in addition, he posted on Facebook

a selfie video of his march through the Rotunda, and later took steps to remove evidence in

coordination with his co-defendant Williams.

         The Court must also consider that Mileur’s conduct on January 6, like the conduct of

hundreds of other rioters, took place in the context of a large and violent riot that relied on numbers

to overwhelm police officers who were trying to prevent a breach of the Capitol Building, and

disrupt the proceedings. Here, the facts of and circumstances of Mileur’s crime support a sentence

that includes a term of home detention.

   II.      Factual and Procedural Background

                            The January 6, 2021 Attack on the Capitol

         To avoid unnecessary exposition, the government refers to the general summary of the

attack on the U.S. Capitol. See ECF 64 (Statement of Offense), at ⁋⁋1-7.

              Defendant Mileur’s Role in the January 6, 2021 Attack on the Capitol

         On January 6, 2021, Mileur, Williams, and McFadden traveled to Washington, D.C., from

Williams’s and McFadden’s home in Baltimore. Mileur, who is Williams’s cousin, was visiting

from his home in Alaska. They planned to attend the Stop the Steal rally, where Mileur planned

to protest Congress’s certification of the 2020 Electoral College vote for President. They arrived

at Union Station but were too late to attend the rally. Instead, they made their way to the U.S.

Capitol, where they joined a gathering crowd on the East side of the building. According to

photographs recovered from Williams’ Facebook account (Images 1, 2, and 3, below), the three

were at the Capitol by no later than 12:25 p.m. (remaining on the grounds until at least 3:19 p.m.).




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    Image 1: Mileur (left) and        Image 2: Williams (right     Image 3: Williams (front) and
     McFadden, 12:25 p.m.              foreground), 2:18 p.m.         McFadden, 3:19 p.m.

       On the East side of the Capitol grounds, Mileur, Williams, and McFadden joined a

gathering crowd. Initially, the crowd congregated behind a U.S. Capitol Police barricade made of

conjoined metal bike racks that surrounded the building and was marked with “Area Closed” signs.

At around 2:00 p.m., a large crowd of rioters that had breached the barriers from the West side

arrived on the East side, and the mob on the East side followed suit. Quickly, the bike rack

barricade was broken and the police line was forced to retreat. The crowd took over the East steps

leading to the Rotunda doors, as the police retreated up the stairs in an effort to block the doors.

At the bottom of the steps, as Mileur later described to the FBI in his post-arrest interview

(described below), Mileur saw a young man use a wooden dowel to reach over the police officers’

shields and strike the officers. Mileur reported that the young man then dropped the wooden dowel

and ran away.

       Mileur, Williams, and McFadden joined the tightly packed crowd that was pushing up the

Capitol steps and toward the doorway. In video of the incident excerpted below (Image 4),


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Williams can be seen joining the crowd pushing up the steps and advancing toward the overrun

police line and the recently opened Rotunda doors.




      Image 4: Williams (circled in red) advancing up the stairs toward the Rotunda doors

       As Mileur later described in an interview with the FBI, he saw people around him suffering

the effects of pepper spray in their eyes. He said he used water bottles he had brought with him to

help rinse out the eyes of those rioters who had been pepper sprayed. As he went to throw away

the empty bottles, he was temporarily separated from Williams and McFadden.


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       All three co-defendants made their way through the push up to the top of the stairs and into

the Capitol building’s interior at around 2:46 p.m. (Image 5, below). As they crossed the threshold,

they would have heard the very loud blaring alarm that was continuously sounding from the

breached and broken Rotunda door.




    Image 5: Surveillance video showing Mileur, Williams, and McFadden entering the foyer

From the foyer where they entered, Mileur, as well as Williams and McFadden, quickly found

their way to the Rotunda, the heart of the Capitol building. They can be seen on surveillance video

taking photos as they marched through the room. Mileur filmed video of himself and his

companions and posted it to his Facebook page (Images 6, 7, 8, and 9, below). They left the

Rotunda a few minutes later, exiting the building at 2:51 p.m.




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     Image 6: Surveillance video showing Mileur and Williams in the Rotunda




   Images 7, 8, and 9: Screenshots of video posted to Mileur’s Facebook account,
later removed, showing Mileur, Williams, and McFadden inside the Capitol Rotunda




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        As they left, Mileur saw and heard “flash bangs and tear gas[,]” as he reported to a

Facebook friend after the fact. He later told the FBI that the tear gas in the air was so thick that he

could not see very well. Nevertheless, the three remained on Capitol grounds for at least another

20-30 minutes, if not more.

        During that time, Williams and McFadden spoke to an interviewer from “Young Patriot

News” about what had transpired (excerpted at Image 10, below). At 7:08 minutes into the video,

which is available at https://www.youtube.com/watch?v=LeRYX4LOzYw, another rioter

standing near Williams reported, “We were definitely within the first 100-150 people to get in that

building,” to which Williams responded, “Yeah, we were too, we definitely were too.” Then

McFadden added, “They were going to lock us in there, you feel what I’m saying? They bombed

us twice.” At approximately 9:31 minutes into the video, Williams added, “[W]e made it out safe.

We’re good. We made history. We was not expecting this mess at all today. But we did it. We’re

here. We’re still alive, we’re still kicking.”




           Image 10: McFadden and Williams speaking to camera outside the Capitol



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       The day after the riot, on January 7, 2021, Williams and Mileur discussed the possible

consequences of their actions and described taking down their Facebook posts. They had the

following exchange through Facebook:

               Williams:    So the news said the government wants people to turn over any videos
                            of people who stormed the capital
               Mileur:      Dont
               Williams:    Im not lol
               Mileur:      Have u taken it down yet
               Williams:    Yes
                            […]
               Williams:    Still had a blast but calling us domestic terrorist
               Mileur:      I noticed
               Williams:    Im not taking the pics down though

In other words, knowing that the government was looking for evidence of the takeover of the

Capitol building, Mileur and Williams discussed removing that evidence from public view and,

presumably, from the government’s reach.

                            Defendant Mileur’s Post-Arrest Interview

       Mileur was identified relatively early in the investigation and on March 16, 2021, he was

arrested pursuant to a criminal complaint and arrest warrant. After waiving his Miranda rights,

Mileur agreed to speak with the arresting agents. He described that he was on vacation from his

job in Alaska when he learned that Trump would be speaking at a rally in Washington, DC on

January 6, 2021, so he made plans to visit his cousin Williams, in Baltimore, and attend the event.

       Mileur acknowledged during his interview that he saw rioters making derogatory

statements to the police at the event. He described that some of the rioters he was were dressed in

“militia” style and wearing tactical vests. He saw the bike rack barricades knocked over, and then

the crowd breached the line and headed toward the Capitol. He admitted that he, Williams, and



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McFadden joined the crowd, approximately ten rows behind the first agitators. After they were

briefly separated at the top of the Rotunda steps, Mileur said he caught up with Williams and

McFadden inside the Capitol Rotunda a few minutes later. From the Rotunda, Mileur saw people

in a nearby hallway get involved in a scuffle, and he reportedly moved away and took McFadden

away from the tussle as well.

       Mileur told the FBI that he was surprised by the police officers’ response to the rioters. He

described that when the rioters got to the top of the Rotunda steps, it appeared the police officers

completely dispersed. He claimed he saw one officer inside the building, and that officer was

standing to the side of a doorway with his hands at his sides. When Mileur offered the officer

water and asked if he was ok, he reported that the officer did not respond.

       Mileur was asked about the photos and videos he took on January 6, 2021, and the FBI

asked for consent to search his cell phone. He agreed but noted that he no longer had the same

phone he had used on January 6, just a couple of months earlier. Mileur claimed that he bought a

new phone because the screen on his original phone was cracked. He also claimed that he had

deleted the photos and videos from his phone, but that he saved them on the Google Photo

application. Later, in 2022, FBI agents followed up and issued a search warrant to Google for

records stored on the Cloud, but they did not recover the photos and videos Mileur had taken on

January 6, 2021.

                                The Charges and Plea Agreement

       On March 9, 2021, the United States charged Mileur by criminal complaint with violating

18 U.S.C. § 1752(a)(1) and (2) and 40 U.S.C. § 5104(e)(2)(D) and (G). On March 16, 2021, law

enforcement officers arrested him in Anchorage, Alaska. On March 24, 2021, the United States

charged Mileur by a four-count Information charging the same offenses. On September 7, 2022,




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the United States filed a superseding Information, charging Mileur with the same four offenses

and adding co-defendants Williams and McFadden to the same charges. On December 21, 2022,

pursuant to plea agreements, Mileur, Williams, and McFadden each pleaded guilty to Count Four

of the Information, charging them with a violation of 40 U.S.C. § 5104(e)(2)(G), Parading,

Demonstrating, or Picketing in a Capitol Building. In their plea agreements, Mileur, Williams,

and McFadden each agreed to pay $500 in restitution to the Architect of the Capitol.

   III.      Statutory Penalties

          Mileur now faces a sentencing on a single count of violating 40 U.S.C. § 5104(e)(2)(G).

As noted by the plea agreement and the U.S. Probation Office, Mileur faces up to six months of

imprisonment and a fine of up to $5,000. Mileur must also pay restitution under the terms of his

plea agreement. See 18 U.S.C. § 3663(a)(3); United States v. Anderson, 545 F.3d 1072, 1078-79

(D.C. Cir. 2008). As this offense is a Class B Misdemeanor, the Sentencing Guidelines do not

apply to it. 18 U.S.C. § 3559; U.S.S.G. §1B1.9.

   IV.       Sentencing Factors Under 18 U.S.C. § 3553(a)

          In this misdemeanor case, sentencing is guided by 18 U.S.C. § 3553(a), which identifies

the factors a court must consider in formulating the sentence. Some of those factors include: the

nature and circumstances of the offense, § 3553(a)(1); the history and characteristics of the

defendant, id.; the need for the sentence to reflect the seriousness of the offense and promote

respect for the law, § 3553(a)(2)(A); the need for the sentence to afford adequate deterrence,

§ 3553(a)(2)(B); and the need to avoid unwarranted sentence disparities among defendants with

similar records who have been found guilty of similar conduct. § 3553(a)(6). In this case, as

described below, the Section 3553(a) factors weigh in favor of a sentence of 90 days of home

detention as part of 36 months of probation, and 60 hours of community service.




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           A. The Nature and Circumstances of the Offense

       The attack on the U.S. Capitol on January 6 posed a grave danger to our democracy. United

States v. Munchel, 991 F.3d 1273, 1284 (D.C. Cir. 2021). The attack “endangered hundreds of

federal officials in the Capitol complex,” including lawmakers who “cowered under chairs while

staffers blockaded themselves in offices, fearing physical attacks from the rioters.” United States

v. Judd, 21-cr-40, 2021 WL 6134590, at *5 (D.D.C. Dec. 28, 2021). While assessing Mileur’s

participation in that attack to fashion a just sentence, this Court should consider various

aggravating and mitigating factors. Notably, for a misdemeanor defendant like Mileur, the absence

of violent or destructive acts is not a mitigating factor. Had Mileur engaged in such conduct, he

would have faced additional criminal charges.

       One of the most important factors in Mileur’s case is his awareness of—and disregard for—

the police officers working to protect the Capitol building and the people working inside. He

watched the barriers fall, saw at least one individual strike the police with a wooden dowel,

experienced tear gas in the air, and nevertheless continued his advance toward the building. On

the steps, Mileur described that he helped rioters who had been pepper sprayed to rinse out their

eyes, allowing those rioters to continue their progress toward and inside the Capitol. Rather than

deciding to disengage and depart, Mileur continued. His decision to join the mob storming the

building contributed to the danger the police officers and the officials and staff inside the Capitol

faced, even if Mileur did not engage in the violence.

       In addition, Mileur reported that he deleted evidence from his phone, and his messages

with Williams make clear that he was aware the government would be looking for photos and

videos. In light of this, there is some reason to doubt Mileur’s explanation that he got rid of the

cell phone he used on January 6, 2021, merely because the screen was cracked.




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       However, the government is not seeking a custodial sentence in this case because of the

additional mitigating aspects of Mileur’s conduct. There is no evidence that he prepared for the

event or had any advance plans to participate in the riot. He spent only a brief period of about six

minutes inside the building and left without being directed to do so by law enforcement. And after

he was arrested, Mileur answered the interviewing agents openly and provided information about

his involvement in the offense.      While these factors suggest a non-custodial sentence is

appropriate, they do not justify a sentence below the 90-day period of home detention the

government requests here.

           B. The History and Characteristics of Mileur

       As set forth in the PSR, Mileur is a resident of Alaska with a stable family background and

a stable job as a gutter installer. ECF 77, ¶¶ 35-41; 51-52. He has no prior criminal convictions.

Id., ¶ 30. Although he reported a normal childhood, Mileur reports he is now estranged from his

family members. Id., ¶ 39. He has two adult children who live in North Carolina and Alaska,

respectively. Id., ¶ 40.

       From 1998 to 2002, Mileur served in the United States Air Force as an Airman 1st Class.

Id., ¶ 50. This brought him to Alaska, where he has lived since that time. Id., ¶ 41. While Mileur’s

prior military service is laudable, it renders his conduct on January 6, and his disregard for the

struggling law enforcement officers there, all the more troubling.

           C. The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
              and Promote Respect for the Law

       The attack on the U.S. Capitol building and grounds was an attack on the rule of law. As

with the nature and circumstances of the offense, this factor supports a sentence of incarceration,

as it will in most cases, including misdemeanor cases, arising out of the January 6 riot. See United

States v. Joshua Bustle and Jessica Bustle, 21-cr-238-TFH, Tr. 08/24/21 at 3 (“As to probation, I



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don't think anyone should start off in these cases with any presumption of probation. I think the

presumption should be that these offenses were an attack on our democracy and that jail time is

usually -- should be expected”) (statement of Judge Hogan).

            D. The Need for the Sentence to Afford Adequate Deterrence

         Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010).

         General Deterrence

         The need for general deterrence weighs heavily in favor of incarceration in nearly every

case arising out of the violent riot at the Capitol. Indeed, general deterrence may be the most

compelling reason to impose a sentence of incarceration. “Future would-be rioters must be

deterred.” (statement of Judge Nichols at sentencing, United States v. Thomas Gallagher, 1:21-

CR-00041 Tr. 10/13/2021 at 37). General deterrence is an important consideration because many

of the rioters intended that their attack on the Capitol would disrupt, if not prevent, one of the most

important democratic processes we have: the peaceful transfer of power to a newly elected

President. There is possibly no greater factor that this Court must consider.

         Specific Deterrence

         Mileur’s actions on January 6 highlight the need for deterrence in this case. Despite all the

indications of danger, including chaos, pepper spray, alarms, and flash bangs, he advanced forward

to storm the Capitol building. And he posted about his accomplishment to his Facebook page. His

celebratory post, followed by his decision to delete records from Facebook and his phone, suggest

that he did not immediately grasp the seriousness of his actions. On the other hand, Mileur quickly




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accepted responsibility once confronted with the evidence against him, and his lack of criminal

history suggests he may learn from this grave mistake not to engage in criminal behavior again.

           E. The Need to Avoid Unwarranted Sentencing Disparities

       The government has charged hundreds of individuals for their roles in this one-of-a-kind

assault on the Capitol, ranging from unlawful entry misdemeanors, such as in this case, to assault

on police officers, to conspiracy to corruptly interfere with Congress.2 This Court must sentence

Mileur based on his own conduct and relevant characteristics, but should give substantial weight

to the context of his unlawful conduct: his participation in the January 6 riot.

       Mileur has pleaded guilty to Count Four of the Superseding Information, charging him

with Parading, Demonstrating, and Picketing in a Capitol Building, in violation of 40 U.S.C.

§ 5104(e)(2)(G). This offense is a Class B misdemeanor. 18 U.S.C. § 3559. Certain Class B and C

misdemeanors and infractions are “petty offenses,” 18 U.S.C. § 19, to which the Sentencing

Guidelines do not apply, U.S.S.G. 1B1.9. The sentencing factors set forth in 18 U.S.C. § 3553(a),

including “the need to avoid unwarranted sentence disparities among defendants with similar

records who have been found guilty of similar conduct,” 18 U.S.C.A. § 3553(6), do apply,

however.

       Section 3553(a)(6) of Title 18 directs a sentencing court to “consider … the need to avoid

unwarranted sentence disparities among defendants with similar records who have been found

guilty of similar conduct.” Section 3553(a)(6) does not limit the sentencing court’s broad

discretion under 18 U.S.C. § 3553(a) “to impose a sentence sufficient, but not greater than


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  A routinely updated table providing additional information about the sentences imposed on other
Capitol breach defendants is available here: https://www.justice.gov/usao-dc/capitol-breach-cases.
To reveal that table, click on the link “SEE SENTENCES HANDED DOWN IN CAPITOL
BREACH CASES.” The table shows that imposition of the government’s recommended sentence
in this case would not result in an unwarranted sentencing disparity.


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necessary, to comply with the purposes set forth in paragraph (2) of this subsection.” 18 U.S.C.

§ 3553(a). Although unwarranted disparities may “result when the court relies on things like

alienage, race, and sex to differentiate sentence terms,” a sentencing disparity between defendants

whose differences arise from “legitimate considerations” such as a “difference[] in types of

charges” is not unwarranted. United States v. Bridgewater, 950 F.3d 928, 936 (7th Cir. 2020).

       “Congress’s primary goal in enacting § 3553(a)(6) was to promote national uniformity in

sentencing rather than uniformity among co-defendants in the same case.” United States v. Parker,

462 F.3d 273, 277 (3d Cir. 2006). “[A] defendant cannot rely upon § 3553(a)(6) to seek a reduced

sentence designed to lessen disparity between co-defendants’ sentences.” Consequently, Section

3553(a)(6) neither prohibits nor requires a sentencing court “to consider sentencing disparity

among codefendants.” Id. Plainly, if Section 3553(a)(6) is not intended to establish sentencing

uniformity among codefendants, it cannot require uniformity among all Capitol siege defendants

charged with petty offenses, as they share fewer similarities in their offense conduct than

codefendants do. See United States v. Smocks, D.D.C. 21-cr-198 (TSC), Sent. Tr. at 48-49 (“With

regard to the need to avoid sentence disparity, I find that this is a factor, although I have found in

the past and I find here that the crimes that occurred on January 6 are so unusual and unprecedented

that it is very difficult to find a proper basis for disparity.”) (statement of Judge Chutkan)

       Cases involving convictions only for Class B misdemeanors (petty offenses) are not subject

to the Sentencing Guidelines, so the Section 3553(a) factors take on greater prominence in those

cases. Sentencing judges and parties have tended to rely on other Capitol siege petty offense cases

as the closest “comparators” when assessing unwarranted disparity. But nothing in Section

3553(a)(6) requires a court to mechanically conform a sentence to those imposed in previous cases,

even those involving similar criminal conduct and defendant’s records. After all, the goal of




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minimizing unwarranted sentencing disparities in Section 3553(a)(6) is “only one of several

factors that must be weighted and balanced,” and the degree of weight is “firmly committed to the

discretion of the sentencing judge.” United States v. Coppola, 671 F.3d 220, 254 (2d Cir. 2012).

The “open-ended” nature of the Section 3553(a) factors means that “different district courts may

have distinct sentencing philosophies and may emphasize and weigh the individual § 3553(a)

factors differently; and every sentencing decision involves its own set of facts and circumstances

regarding the offense and the offender.” United States v. Gardellini, 545 F.3d 1089, 1093 (D.C.

Cir. 2008). “[D]ifferent district courts can and will sentence differently—differently from the

Sentencing Guidelines range, differently from the sentence an appellate court might have imposed,

and differently from how other district courts might have sentenced that defendant.” Id. at 1095.

It follows that a sentencing court in a Capitol siege petty offense case is not constrained by

sentences previously imposed in other such cases. See United States v. Stotts, D.D.C. 21-cr-272

(TJK), Nov. 9, 2021 Sent. Hrg. Tr. at 33-34 (“I certainly have studied closely, to say the least, the

sentencings that have been handed out by my colleagues. And as your attorney has pointed out,

you know, maybe, perhaps not surprisingly, judges have taken different approaches to folks that

are roughly in your shoes.”) (statement of Judge Kelly).

       Additionally, logic dictates that whether a sentence creates a disparity that is unwarranted

is largely a function of the degree of the disparity. Differences in sentences measured in a few

months are less likely to cause an unwarranted disparity than differences measured in years. For

that reason, a permissible sentence imposed for a petty offense is unlikely to cause an unwarranted

disparity given the narrow range of permissible sentences. The statutory range of for a petty offense

is zero to six months. Given that narrow range, a sentence of six months, at the top of the statutory

range, will not create an unwarranted disparity with a sentence of probation only, at the bottom.




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See United States v. Servisto, D.D.C. 21-cr-320 (ABJ), Dec. 15, 2021 Sent. Hrg. Tr. at 23-24

(“The government is trying to ensure that the sentences reflect where the defendant falls on the

spectrum of individuals arrested in connection with this offense. And that’s largely been

accomplished already by offering a misdemeanor plea, which reduces your exposure

substantially.”) (statement of Judge Berman Jackson); United States v. Dresch, D.D.C. 21-cr-71

(ABJ), Aug. 4, 2021 Sent. Hrg. Tr. at 34 (“Ensuring that the sentence fairly reflects where this

individual defendant falls on the spectrum of individuals arrested in connection with the offense

has largely been accomplished by the offer of the misdemeanor plea because it reduces his

exposure substantially and appropriately.”) (statement of Judge Berman Jackson); United States v.

Peterson, D.D.C. 21-cr-309, Sent. Hrg. Tr. at 26 (statement of Judge Berman Jackson) (similar).

       While no previously sentenced case contains the same balance of aggravating and

mitigating factors present here, this Court should consider the sentence of home detention as a

condition of 36 months’ probation imposed in United States v. Nicholas Reimler, D.D.C. 1:21-cr-

00239. There, the defendant entered the Capitol through the Senate Wing Door, took videos as he

marched around the Crypt, and left the building of his own accord after around 19 minutes. Like

Mileur, Reimler posted those videos to social media. Also like Mileur, after his arrest, Reimler

admitted to law enforcement that he had entered the Capitol building. This Court sentenced

Reimler to 30 days of home detention, whereas here, the government recommends a longer term

of 90 days. This is appropriate given the efforts Mileur took to remove evidence from his social

media accounts, and because, Reimler, Mileur did witness clashes with law enforcement as he

approached the Rotunda doors. Accordingly, a similar but slightly more serious sentence is

warranted in this case.




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       This Court should also consider the sentences to be imposed for Mileur’s co-defendants.

The government is recommending that all three defendants be sentenced to the same terms: 90

days of home detention as part of 36 months of probation, 60 hours of community service, and

$500 in restitution. Like Mileur, Williams took steps to remove evidence from the reach of law

enforcement officials, after realizing that their conduct was under investigation. There is no

evidence that McFadden and Williams witnessed assaults on the police, unlike Mileur, but they

both gave untruthful accounts of their activities to FBI agents when they were interviewed

telephonically in 2021. And, although no evidence suggests that McFadden deleted messages or

photos to remove them from law enforcement, unlike his co-defendants, he has a more serious

criminal history and reported violations of his conditions of release even in this case. Accordingly,

while the mix of aggravating and mitigating factors is somewhat different for each of the co-

defendants, ultimately, the government requests that each be sentenced to the same terms.

       In any event, the goal of minimizing unwarranted sentencing disparities in § 3553(a)(6) is

“only one of several factors that must be weighted and balanced,” and the degree of weight is

“firmly committed to the discretion of the sentencing judge.” United States v. Coppola, 671 F.3d

220, 254 (2d Cir. 2012). The § 3553(a) factors that this Court assesses are “open-ended,” with the

result that “different district courts may have distinct sentencing philosophies and may emphasize

and weigh the individual § 3553(a) factors differently; and every sentencing decision involves its

own set of facts and circumstances regarding the offense and the offender.” United States v.

Gardellini, 545 F.3d 1089, 1093 (D.C. Cir. 2008). “[D]ifferent district courts can and will sentence

differently—differently from the Sentencing Guidelines range, differently from the sentence an

appellate court might have imposed, and differently from how other district courts might have

sentenced that defendant.” Id. at 1095.




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   V.      Conclusion

        Sentencing requires the Court to carefully balance the § 3553(a) factors. Balancing these

factors, the government recommends that this Court sentence defendant Aaron Mileur to 90 days

of home detention as part of 36 months of probation, 60 hours of community service, and $500 in

restitution. Such a sentence protects the community, promotes respect for the law, and deters

future crime by imposing restrictions on his liberty as a consequence of his behavior, while

recognizing his acceptance of responsibility for his crime.

                                             Respectfully submitted,

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